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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Christine M. Arguello


Civil Action No. 20-cv-01086-CMA
Criminal Action No. 18-cr-00536-CMA

UNITED STATES OF AMERICA,

      Plaintiff,

v.

CARLOS POSADA-CARDENAS,

      Defendant.


  ORDER DENYING MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE


      This matter is before the Court on Defendant’s Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. # 171). The Motion is denied for

the following reasons.

                                  I.     BACKGROUND

      Defendant pled guilty to (1) conspiracy to possess with the intent to distribute 500

grams or more of cocaine (21 U.S.C. §§ 841(a)(1), (b)(1)(B), and 846); and (2)

possession of a firearm during and in furtherance of a drug-trafficking crime (18 U.S.C.

§ 924(c)(1)(A)(i)). (Docs. ## 55-56, 151). He was sentenced to a total of 120 months in

prison followed by four years of supervised release. (Doc. # 151).
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       Defendant now contends that his sentence must be vacated. He argues that (1)

his firearm conviction is unconstitutional in light of United States v. Davis, 139 S. Ct.

2319 (2019); and (2) his rights under the Speedy Trial Act were violated.

                             II.    STANDARD OF REVIEW

   A. STANDARD OF REVIEW FOR § 2255 MOTIONS

       Under 28 U.S.C. § 2255, a prisoner in federal custody may challenge his

sentence on the basis that “the sentence was imposed in violation of the Constitution or

laws of the United States . . . or is otherwise subject to collateral attack.” 28 U.S.C. §

2255(a). A § 2255 petition “attacks the legality of detention...and must be filed in the

district that imposed the sentence.” Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir.

1996) United States v. Bernhardt, No. 96-CR-203-WJM, 2020 WL 2084875, at *1 (D.

Colo. Apr. 30, 2020). The reviewing court must set aside the conviction if it determines

that the sentence is unconstitutional or unlawful. 28 U.S.C. § 2255(b). However, if the

motion and other documents before the court “conclusively show that [the d]efendant is

not entitled to relief,” the court may deny the motion without an evidentiary hearing.

United States v. Bernhardt, No. 96-CR-203-WJM, 2020 WL 2084875, at *1 (D. Colo.

Apr. 30, 2020); see also See Hedman v. United States, 527 F.2d 20, 21 (10th Cir. 1975)

   B. PRO SE STANDARD OF REVIEW

       Because Defendant is proceeding pro se, the Court “review[s] his pleadings and

other papers liberally and hold[s] them to a less stringent standard than those drafted by

attorneys.” Trackwell v. United States, 472 F.3d 1242, 1243 (10th Cir. 2007) (citations

omitted); see also Haines v. Kerner, 404 U.S. 519, 520–21 (1972). However, the Court


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is “not required to fashion [a d]efendant’s arguments for him where his allegations are

merely conclusory in nature and without supporting factual averments.” United States v.

Fisher, 38 F.3d 1144, 1147 (10th Cir. 1994) (citing Hall v. Bellmon, 935 F.2d 1106, 1110

(10th Cir. 1991)). “It is [not] the proper function of the district court to assume the role of

advocate for the pro se litigant.” Hall, 935 F.2d at 1110; Whitney v. New Mexico, 113

F.3d 1170, 1173–74 (10th Cir. 1997) (court may not “supply additional factual

allegations to round out a [movants] complaint”); Drake v. City of Fort Collins, 927 F.2d

1156, 1159 (10th Cir. 1991) (the court may not “construct arguments or theories for the

[movant] in the absence of any discussion of those issues.”). Further, pro se litigants are

still subject to the Federal Rules of Civil Procedure. Abdelsamed v. Colorado, 6 F. App’x

771, 772 (10th Cir. 2001).

                                    III.   DISCUSSION

   A. DEFENDANT WAIVED THE RIGHT TO BRING THIS MOTION

       As an initial matter, Defendant’s Motion must be denied because Defendant

expressly waived the right to challenge his sentence. (Doc. # 56). Before pleading guilty

to these offenses, Defendant, with the advice of counsel, signed a plea agreement in

which he “knowingly and voluntarily” waived the right to challenge his “prosecution,

conviction, or sentence in any collateral attack, including, but not limited to, a motion

brought under 28 U.S.C. § 2255.” (Doc. #56, p. 2). Defendant does not challenge the

validity of his plea agreement. Therefore, Defendant is barred from bringing this

challenge.




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       Further, even if Defendant had not waived his right to bring this Motion, his

arguments still fail on the merits for the reasons discussed below.

   B. DEFENDANT’S FIREARM CONVICTION REMAINS VALID AFTER United
      States v. Davis

       Defendant first contends that his firearm conviction must be vacated as

unconstitutional pursuant United States v. Davis, 139 S. Ct. 2319 (2019). This argument

is incorrect.

       Davis involved a challenge to the definition of “crime of violence” in 18 U.S.C. §

924(c)(3)(B). Davis, 139 S.Ct. at 2323-24. The Davis defendants had been convicted

under § 924(c)(3)(B) of possessing firearms during a “crime of violence” – namely, a

string of robberies. The defendants argued that those convictions could not stand

because the definition of “crime of violence” in § 924(c)(3)(B) was unconstitutionally

vague. Id. at 2324. The Supreme Court agreed. Id.

       This case, by contrast, does not involve possession of firearms during a “crime of

violence”; rather, it involves possession of a firearm during and in furtherance of a drug-

trafficking crime. (Doc. # 151). That offense is governed by a separate statutory

provision – § 924(c)(2) – that was not at issue in Davis. Davis did not address §

924(c)(2), and that provision remains valid after the Davis decision. See, e.g. U.S. v.

Txai Tay HER, 2020 WL 1550890 (10th Cir. Apr. 1, 2020) (Davis only provides relief

from convictions “for using . . . a firearm during ... a crime of violence”); U.S. v. Nietfeld,

2019 WL 7116089, at *2 (D. Kan. Dec. 23, 2019) (Davis has no impact on “possession

of a firearm in furtherance of a drug trafficking crime”). Therefore, Defendant’s

conviction and sentence are unaffected by Davis.

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       Defendant also argues that “[c]onspiracy to commit a crime can not support a

conviction for use of firearm” under § 924(c). Defendant cites no authority to support this

position, and there is substantial authority to the contrary. See, e.g. U.S. v. Rodriguez,

735 F.3d 1, 9 (1st Cir. 2013) (upholding conviction under § 924(c) based on firearm

possession in connection with drug-trafficking conspiracy); U.S. v. Chavez, 549 F. 3d

119, 131-32 (2nd Cir. 2008) (same); U.S. v. Seymour, 519 F. 3d 700 (7th Cir., 2008)

(same). Therefore, Defendant’s sentence will not be vacated on that basis.

   C. DEFENDANT WAIVED HIS RIGHTS UNDER THE SPEEDY TRIAL ACT

       Defendant next contends that his convictions violated the Speedy Trial Act and

must therefore be vacated. This argument, too, is incorrect.

       The Speedy Trial Act, 18 U.S.C. §§ 3161-62, provides that a criminal defendant

must be brought to trial within seventy days of either the date charges were filed or the

date of defendant’s first appearance on the case, whichever is later. 18 U.S.C. §§

3161(c)(1), 3162(a)(2). However, a defendant may request an extension of the seventy-

day time limit, and if granted, the extension is excluded from the 70-day speedy trial

time period. 18 U.S.C. § 3161(h)(7)(A).

       In this case, Defendant requested a ninety-day extension of the speedy trial

deadline so that his attorney would have additional time prepare his defense. (Doc. #

33). This Court granted the requested extension, (Doc. # 34), and Defendant pled guilty

before the extended deadline (Docs. ## 55-57). Therefore, Defendant’s rights under the

Speedy Trial Act were not violated.




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         Defendant argues, however, that “§ 3161(h)(8)(c) prohibits the grant of a

continuance based upon the ‘lack of diligent preparation on the part of the government.’’

As explained above, the continuance in question was granted at Defendant’s request,

not based on the government’s conduct. (Docs. ## 33-34). Therefore, this argument

fails.

         Defendant further contends that “the Court did not conduct the necessary

balancing of factors required by § 3161(h)(5)(B).” 1 This contention is also is incorrect:

the Court considered the factors outlined in § 3161, and concluded “that the ends of

justice served by granting [Defendant’s] motion outweigh[ed] the best interests of the

public and the Defendant in a speedy trial. (Doc. #34). Therefore, Defendant is not

entitled to have his sentences vacated on this basis.

         Further, Defendant’s speedy-trial argument fails because Defendant waived the

issue. The Speedy Trial Act provides that if the defendant does not move for dismissal

of the charges against him “prior to trial or entry of a plea of guilty,” his failure to do so

“shall constitute a waive of the right to dismissal” based on the Speedy Trial Act. 18

U.S.C. § 3162(a)(2). In this case, Defendant did not seek dismissal under the Speedy

Trial Act before he pled guilty on April 10, 2020. Therefore, he waived the right to

dismissal under the Act, and he is not entitled to have his sentence vacated on that

basis.




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  The statutory provision cited by Defendant does not exist. It appears Defendant intended to
refer to §3161(h)(7)(B), which provides a list of factors for the court’s consideration when
deciding whether to extend the speedy-trial deadline.
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                                 IV.   CONCLUSION

      Based on the foregoing, Defendant’s 28 U.S.C. § 2255 Motion to Vacate, Set

Aside, or Correct Sentence (Doc. # 171) is DENIED.




      DATED: October 19, 2020


                                             BY THE COURT:


                                             _____________________________
                                             CHRISTINE M. ARGUELLO
                                             United States District Judge




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